





TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-00-00530-CR







Carolina Arroyo, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 119TH JUDICIAL DISTRICT


NO. B-00-0125-S, HONORABLE DICK ALCALA, JUDGE PRESIDING






PER CURIAM

This is an appeal from a judgment of conviction for possession of cocaine. 
Sentence was imposed on June 28, 2000.  There was no motion for new trial.  The deadline for
perfecting appeal was therefore July 28, 2000.  See Tex. R. App. P. 26.2(a)(1).  Notice of appeal
was filed on August 9, 2000.  No extension of time for filing notice of appeal was requested.  See
Tex. R. App. P. 26.3.  There is no indication that notice of appeal was properly mailed and
received within the time prescribed by rule 9.2.  See Tex. R. App. P. 9.2(b).  Under the
circumstances, we lack jurisdiction to dispose of the purported appeal in any manner other than
by dismissing it for want of jurisdiction.  See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App.
1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996).



The appeal is dismissed.


Before Chief Justice Aboussie, Justices B. A. Smith and Patterson

Dismissed for Want of Jurisdiction

Filed:   September 14, 2000

Do Not Publish



